                              UNITED STATES DISTRICT COURT
                          FOR THE MIDDLE DISTRICT OF FLORIDA
                                        TAMPA DIVISION

Melanie Moore,                                              Case No. 8 :20-CV-02184MSS-SPF

     Plaintiff,


V.

Luis Marquez, Individually and as

Owner of Pooches of Largo, Inc.,

and Pooches of Largo, Inc.,

     Defendants,

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           SECOND AMENDED COMPLAINT AND DEMAND FOR JURY TRIAL


     1. Pursuant Fed. R. Civ. P. 15 and 8(f), Plaintiff, Melanie Moore, hereby files this

     SECOND AMENDED COMPLAINT against Defendants Luis Marquez and Pooches of

     Largo, Inc., d/b/a “Petland Largo”.

     2. At the heart of this matter is Defendants’ wage theft and failure to pay minimum

     wage for work performed by the Plaintiff in August 2018. The Defendants unlawfully

     retained, and continue to retain, Plaintiff’s wages and refuse to surrender those wages

     and converted Plaintiff’s wages for their own use since the time Plaintiff’s employment

     was terminated four and a half years ago. Additional counts in the Complaint include



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civil theft, conversion, interference with contract, malicious prosecution, and

fraudulent misrepresentation.

3. Plaintiff seeks to recover unpaid wages, damages, and other equitable relief.

                                  Jurisdiction and Venue

4. Jurisdiction is proper in the Florida Middle District Court pursuant 28 U.S. Code §

1331, and this court has subject-matter jurisdiction over this action that pertains to a

question of federal law pursuant the Fair Labor Standards Act.

5. This court also has personal jurisdiction because the Defendants maintain a principal

place of business in this judicial district and have availed themselves of the business

opportunities available within the state of Florida. The Plaintiff resides in this district

and was employed by Defendants at their principal place of business in this district.

6. This Court also has supplemental jurisdiction over the related state law claims

pursuant 28 U.S. Code §1367, because Plaintiff’s Florida common law claims form part

of the same case or controversy under Article III of the U.S Constitution and arise from

a common nucleus of operative facts as her federal law claims, and the parties are

identical.

7. Resolving state and federal claims in a single action serves the interests of judicial

economy, convenience, and fairness to the parties.




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8. This Court also has jurisdiction because Pinellas County is part of the Middle District

of Florida and Defendants have availed themselves to the jurisdiction of this court

because they own and operate a business in Pinellas County. Defendants are also

subject to the laws and ordinances of Pinellas County because they operate a business

in Pinellas County.

9. Venue is proper In the Middle District of Florida pursuant 28 U.S. Code §1391

because the Defendants maintain a principal place of business in this district and all or

most of the unlawful conduct giving rise to this action occurred in this district.

                                       The Parties

10. Plaintiff, Melanie Moore, of Pinellas County, Florida, has worked as a veterinary

technician for approximately fifteen years. Plaintiff was employed by Defendants in

August of 2018 at Petland Largo, a retail pet store located at 10289 Ulmerton Road

Largo, Florida 33771. At all times material, Plaintiff was an “employee” under the Fair

Labor Standards Act.

11. Defendant, Luis Marquez, is the owner and President of Petland Largo and was an

“employer” under the FLSA at all times material to this case. Defendant operates

Petland Largo under the business name Pooches of Largo, Inc. which maintains its

corporate office at 8181 NW 154th Street, Suite 270 Miami Lakes, Florida 33016.




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12. Whenever in this Complaint an act or omission of a corporation or business entity is

alleged, the said allegation shall be deemed to mean and include an allegation that the

corporation or business entity acted or omitted to act through its authorized officers,

directors, agents, servants, and/or employees.

13. Defendants engage in interstate commerce through the purchase, transportation,

and sale of live animals from large-scale commercial breeders in the Midwest for sale in

his Petland stores throughout Florida and Texas.

                                           Facts

14. Plaintiff was employed at Defendants’ Largo Petland store from August 13, 2018,

through August 31, 2018. Plaintiff obtained the job by submitting her resume using the

link in an employment offer created and posted by Defendants on Indeed.com, an

online employment platform that operates to connect job seekers with employers

seeking to fill available positions. The position offered was for a “Full-time Certified

Veterinary Technician” for which the compensation was an annual salary of $35,000.

The Defendants’ employment post is attached as Exhibit 1.

15. Plaintiff received confirmation that her resume was received from two of

Defendants’ agents, Leanne and Lynette, on August 6, 2018, and August 8, 2018,

respectively, when they left voicemail messages requesting that the Plaintiff call back to




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schedule an interview for the veterinary technician position at Petland Largo. The visual

voicemails of these messages are attached as Exhibit 2.

16. On the evening of August 12, 2018, Plaintiff received a text message from Petland

manager Yessi, offering Plaintiff the job and asked that she report to Petland the

following morning at 7am to begin training. Plaintiff accepted and agreed to be at

Petland at 7a. The Plaintiff also inquired about the compensation in her reply message.

However, Yessi did not respond to inform the Plaintiff that the compensation was any

other than that stated by the Defendants in their offer. (Exhibit 3) Moreover, Plaintiff

was never told in any subsequent communications that her pay was any other than that

which was indicated by the Defendants in their employment post.

17. The weekly employee work schedule at Petland is posted on Friday of the

preceding week. Thus, the Plaintiff was not on the previously posted schedule for her

first week of employment. Plaintiff worked as directed by manager Yessi her first week

of employment. Yessi told the Plaintiff that she would manually enter Plaintiff’s hours

into Petland’s electronic time-keeping system until she was able to assign Plaintiff a pin

code to clock in and out for her shifts using the electronic time keeping system.

(Exhibit 4)




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18. Plaintiff worked full-time for three weeks according to the direction of Yessi her

first week and then according to the weekly employee work schedule created and

posted by Defendants for Plaintiff’s subsequent weeks.

19. Yessi also told the Plaintiff that she would not be receiving a paycheck at the end of

her first week, which was the regular payday for the other workers, and that Plaintiff

would receive a paycheck on the next pay date in two weeks on August 31, 2018, which

would pay Plaintiff all wages for work performed through that pay date, accordingly.

20. Plaintiff was scheduled a minimum of 37 hours per each week of employment.

However, Plaintiff was frequently required to stay later than her scheduled time off

work at the direction of her supervisor to complete additional work assigned to the

Plaintiff.

21. Plaintiff’s work schedules for weeks two and three created and posted by the

Defendants, show that the Plaintiff was scheduled five shifts per week at a minimum of

37 hours for each week of employment. (Exhibits 5, 6)

22. Plaintiff worked approximately one hundred hours in total during three weeks of

employment. Plaintiff used the electronic time-keeping system to clock in and out for

her shifts. The Plaintiff’s time clock records are in the sole custody and control of the

Defendants, who were advised to preserve any records pertaining to Plaintiff’s

employment by Plaintiff’s counsel in 2018.



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23. Plaintiff was an excellent employee and had no documented disciplinary,

attendance, or performance issues during her employment at Petland Largo.

24. On August 30, 2018, Plaintiff was informed by her supervisor, Allison, told the

Plaintiff that if she did not have direct deposit, she would not be paid the following

day. Allison gave Plaintiff a direct deposit authorization form which the Plaintiff

completed and returned to Allison.

25. The following day, Friday August 31, 2018, was pay day. Despite being scheduled

to work every Friday, Plaintiff was scheduled off work on this Friday. Despite Allison’s

statement the previous day that Plaintiff’s would be paid by direct deposit, the Plaintiff

received a text message from Allison notifying the Plaintiff that her paycheck was at

Petland. (Exhibit 7)

26. Plaintiff retrieved her paycheck approximately one hour later. While Allison looked

for Plaintiff’s check, she commented that the Plaintiff “was lucky” and that her

[Allison’s] check was short, and she would have to get it “straightened out.”

27. After Plaintiff left for the bank, she discovered that her check was short by

approximately $2000. According to the check stub, the pay period ended the previous

day, August 30, 2018. Thus, Plaintiff’s check dated August 31, 2018, should have

compensated the Plaintiff for all three weeks of employment in the amount of $2019.

Plaintiff files her pay stub as Exhibit 8.



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28. Immediately upon discovering the shortage, Plaintiff text Allison to notify her that

there was a problem with her paycheck and asked with whom she should speak about

the shortage. (Exhibit 7) Plaintiff complained that her wage rate had been incorrectly

reduced from an annual salary of $35,000 to an hourly rate of $8.45 an hour (Exhibit 9).

29. After Allison stated for the second time that Plaintiff’s pay was correct, Plaintiff

complained that Defendants’ pay practice was “illegal as hell” because they had

applied the reduced wage to her paycheck retroactively after Plaintiff had already “put

in the hours” at the higher wage. (Exhibit 10)

30. Allison advised Plaintiff “to call corporate to figure it out.” Plaintiff replied to say

that she would respond with counsel who would be calling corporate on Plaintiff’s

behalf regarding the wages Plaintiff was owed. (Exhibit 11)

31. Allison confirmed her understanding that Plaintiff had lodged a grievance about

her pay and complained of Defendants’ unlawful pay practices and stated, “we will

have our legal team look into the wage disagreement.”

32. Allison then terminated Plaintiff’s employment “immediately” and told the Plaintiff

that “it was a pleasure” working with her, suggesting that Plaintiff’s termination was

not the result of any misconduct or performance issues of the Plaintiff. (Exhibit 11)

33. Plaintiff retained employment attorney Richard Celler on October 10, 2018, who

undertook the case on contingency. Mr. Celler was enthusiastic when he took the case



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and was optimistic that he would obtain a favorable outcome premised on the merits of

the case. Attorney Celler also told the Plaintiff that time was of the essence and that he

was eager to begin working on her case.

34. Attorney Celler sent Defendants a letter of demand on December 6, 2018, notifying

Defendants of their unlawful employment actions against the Plaintiff, to include

breach of contract, retaliation in violation of Private Whistleblower Act (PWA), and

failure to pay minimum wage. The letter stated that Mr. Celler was confident that any

judge or jury hearing the case would find Defendants’ actions intolerable and find in

favor of the Plaintiff. The letter indicated a deadline of December 20, 2018, for

Defendants to respond with a satisfactory offer of resolution without which Mr. Celler

would file Plaintiff’s case in court. (Exhibit 12)

35. Defendants responded, through counsel, on December 11, 2018. (Exhibit 13)

Defendants misrepresented material facts pertaining to Plaintiff’s employment.

Defendants alleged, falsely, that Plaintiff was a kennel technician at Petland for $8.45

an hour, rather than a veterinary technician with a corresponding salary of $35,000 per

year. The Defendants’ misrepresentations were contrary to the offer created and posted

on Indeed.com by the Defendants themselves through which Plaintiff obtained the job

at Petland. Defendants’ offer stated the position was for “Full-time Certified Veterinary

Technician” for an annual salary of $35,000. see Exhibit 1



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36. Defendants also falsely alleged that Plaintiff never worked a full-time schedule and

only worked 20 hours per week. The Defendants representations were contrary to the

weekly work schedules created and posted by the Defendants themselves showing that

Plaintiff worked a schedule of five days a week and a minimum of 37 hours each week.

see Exhibits 5,6

37. Defendants also misrepresented the dates of Plaintiff’s employment, alleging that

Plaintiff worked from August 17, 2018, through September 13, 2018. Exhibit three

shows that Plaintiff was offered the job on August 12, 2018, and Plaintiff agreeing to be

at Petland the following morning, August 13, 2018, to begin training per Yessi’s

request. Exhibit four is a screenshot of a text conversation with Yessi showing that

Plaintiff was working at Petland on August 16, 2018. Plaintiff also submits her Google

timeline showing that she was present at Petland on August 13, 2018, and August 16,

2018. (Exhibits 14, 15)

38. Given the fact that Defendants have sole custody and control of Plaintiff’s

employment file and time clock records, to the extent that they exist, there should be no

reason why the Defendants would not know material facts of Plaintiff’s employment.

Moreover, in the more than four years that the Plaintiff has been owed wages, the

Defendants have offered no evidence to support their contentions regarding Plaintiff’s

title, position, agreed compensation, dates and hours of employment. Conversely, the



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Plaintiff has provided well-documented evidence that controverts the Defendants

misrepresentations and supports the Plaintiff’s version of the facts of her employment.

This evidence is difficult to dispute because all of it came from the Defendants

themselves, or their agents, such as pay stub, work schedules, voice mail and text

messages, and other documentation, all of which is filed with this Complaint to

support Plaintiff’s claims.

39. In addition to the misrepresentations about Plaintiff’s employment, counsel for the

Defendants claimed to be in possession of a “Petland Wage Agreement for Kennel.”

Counsel further alleged that the agreement was for a wage of $35,000 an hour and

accused the Plaintiff of altering the terms by crossing out the word “hour” and writing

the word “year” in its place. Clearly, the allegation is absurd and false. Plaintiff denies

altering any documents related to her employment at Petland. The proposition that a

wage agreement for $35,000 an hour even existed for Plaintiff to have altered to begin

with is so preposterous that it proves its own falsity. This is also compelling evidence

suggesting an attempt to intimidate, harass, and discourage the Plaintiff from

continued pursuit of her claims and wages.

40. Adding to the false and bizarre allegations by Defendants’ counsel, he further

alleged that it was Plaintiff’s counsel, Mr. Celler, who provided him with this “altered’




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wage agreement. These allegations were made despite knowledge of their falsity by the

Defendants, Defendants’ counsel, the Plaintiff, and Plaintiff’s counsel.

41. These misrepresentations of fact and false allegations against the Plaintiff and her

counsel were made without any legitimate purpose or basis in fact.

42. Attached to Defendants’ response was a screenshot of an employment offer on

Indeed.com for “kennel technician” at Petland Largo. The job description for kennel

technician was identical to the job description in Defendants’ offer for “certified

veterinary technician” through which Plaintiff obtained employment at Petland. The

screenshot showed that the pay for the “kennel technician” position was a salary of

$8.25 to $11.00 a year. It appears that Defendants sent the screenshot to imply that it

somehow applied to Plaintiff in her role at Petland. However, the screenshot shows

that the job offer was created and posted on November 23, 2018, which was three

months after Plaintiff was terminated and thus, had no relevance to the Plaintiff

whatsoever. (Exhibit 16)

43. Counsel for the Defendants also sent a pay stub for an alleged direct deposit to

Plaintiff’s bank for $320.89. Plaintiff has no record of the alleged deposit and denies

receiving any direct deposit from Petland. Plaintiff disputes the authenticity of the pay

stub/check. Unlike the pay stub for the check Plaintiff received on August 31, 2018, the

check/stub for the alleged direct deposit indicates no bank name from which the funds



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would have been drawn. Also, it was allegedly for a pay period from August 31, 2018,

through September 13, 2018. However, Plaintiff was terminated on August 31, 2018,

and thus, could not have worked or earned wages during the pay period stated on the

pay stub. (Exhibit 17)

44. Plaintiff emailed her attorney on at least three different dates to ask about the

alleged altered wage agreement opposing counsel claimed to have received from Mr.

Celler. Although Mr. Celler replied to the Plaintiff’s emails, he did not respond to her

inquiries about the alleged altered wage agreement he was accused of sending to the

other side. Mr. Celler’s failure to deny the allegations and consistent evasion of the

question is compelling evidence that Mr. Celler was in accord with the false allegations

and false accusations by defense counsel against himself and the Plaintiff.

45. In addition, the enthusiasm with which Mr. Celler undertook the Plaintiff’s case

was significantly diminished after he received the Defendants’ response to his demand

letter. In fact, Mr. Celler did not file Plaintiff’s case on December 20, 2018, in accordance

with his statement in the demand letter. Communications from Mr. Celler dwindled,

and when the Plaintiff reached out for an update after months of silence, the Plaintiff

was told that the firm did not provide clients with updates.

46. Plaintiff was advised that Mr. Celler was negotiating a settlement with Defendants

and instructed to be patient, that it was not an overnight process. (Exhibit 18) After



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four months of radio silence, Plaintiff contacted Mr. Celler by telephone to inquire

about the status of her case. Mr. Celler indicated that the Defendants were not

interested in resolution. When the Plaintiff restated her interest in filing her case, Mr.

Celler told her that he wanted to spend another month attempting to reach a settlement

pre-suit. By this time, it had been nine months since Mr. Celler undertook the case with

no meaningful progress toward resolution. Mr. Celler told the Plaintiff that she could

either do what he wanted or find another attorney to represent her.

47. Mr. Celler notified opposing counsel that he intended to file Plaintiff’s case on April

6, 2019, and again on May 6, 2019. However, Mr. Celler did not file the case on either

date and instead abruptly withdrew from representing the Plaintiff on May 20, 2019,

without cause and with less than one day’s notice and without giving the Plaintiff an

opportunity to transition to a new attorney before removing himself from the case.

(Exhibits 19, 20, 21)

48. Mr. Celler’s behavior was not that of an attorney whose compensation was

dependent on a successful resolution of the case, given that he undertook the case on

contingency. In fact, Mr. Celler’s conduct was not only contrary to the Plaintiff’s

interests, but contrary to his own contractual and financial interests when he undertook

a case on contingency and subsequently spent the next nine months undermining his

own compensation by not filing or furthering the case only to abruptly withdraw from



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the case. Moreover, Mr. Celler withdrew so abruptly that he did not give the Plaintiff

time to transition to new counsel as required by the Rules of Professional Conduct when

withdrawing from representation of a client. Mr. Celler’s conduct is suspicious, given

that he took the case on the merits but dropped the ball entirely to his own detriment

after Defendants and their counsel became involved in the dispute.

49. The Plaintiff believes that Mr. Celler, or any attorney for that matter, would not

choose to work for free by taking a meritless case on contingency any more than the

Plaintiff would choose to work at Petland for free. Mr. Celler’s conduct defies reason

and common sense.

50. On xxx, 2019, just one week later after Mr. Celler’s abrupt withdrawal, Defendants

sent the Plaintiff a cease-and-desist letter threatening to sue the Plaintiff for defamation

and falsely accusing her of being responsible for the cover photo of a Facebook page,

one of dozens, that exposes Petland’s association with the puppy mills from which they

source puppies. (Exhibit 22)

51. The letter stated, “We have already been in touch with Facebook to confirm the

computer used to create the page, etc.” However, this allegation was false for two

reasons. First, the Plaintiff is not the page administrator and therefore, has no control

over its contents. Second, per Facebook’s privacy policy, a court order is required for

Facebook to disclose information about its users. Had Defendants obtained the



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requisite court order, they would have known the Plaintiff was not the administrator of

the page.

52. By their threats and false allegations, together with the suspicious timing just one

week after MR. Celler’s abrupt withdrawal, it appears that Defendants intended the

letter to intimidate and further retaliate against the Plaintiff to deter her from obtaining

new counsel to further pursue her claims against the Defendants. (Exhibit 23) shows

that Plaintiff did not administrate the Facebook page at issue and supports Plaintiff’s

claim that the Defendants intended to threaten and retaliate further against the Plaintiff

to deter continued pursuit of legal action against the Defendants.

53. Moreover, the picture that was the subject of the cease and desist letter is found on

two websites in connection with Petland, www.change.org and

https://www.thepetitionsite.com/1/stop-petlands-cruelty/. (Exhibits 25, 25) However,

Defendants have not filed any defamation action against either of the websites, further

supporting Plaintiff’s contention that the Defendants did not assert a legitimate claim

seeking to obtain redress for some perceived defamatory act, rather it was intended to

harass, intimidate, bully, and retaliate against the Plaintiff by threatening a lawsuit for

an act for which Plaintiff was not responsible so deter further pursuit of unpaid wages

and claims against Defendants for their unlawful conduct.




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54. Plaintiff emailed Defendants’ counsel on July 19, 2019, to inquire about the alleged

wage agreement she was accused of altering. However, rather than acknowledge

Plaintiff’s request and respond accordingly, counsel instead responded by attaching a

defamation complaint and summons to the email. (Exhibit 26) The action was filed a

month earlier in Miami-Dade County Court, in the wrong venue. It defies belief that

Defendants’ counsel, with more than fifteen years of litigation experience, was unable

to determine the correct venue in which to file an action against the Plaintiff.

55. Despite its filing a month earlier, no attempt had been made to serve the Plaintiff,

according to court records. (Exhibit 27) Nor did Defendants utilize of any of several

alternative means by which to commence an action if a Defendant cannot be served. see

Pooches of Largo, Inc. v. Melanie Moore, Miami-Dade 2019-018268-CA-01

56. The defamation action against the Plaintiff was frivolous, without probable cause,

and filed for an improper and retaliatory purpose. The action named Plaintiff as

Defendant by “process of elimination.” Defendants filed the action with ill will toward

the Plaintiff and the design and intention to injure the Plaintiff, Plaintiffs good name

and reputation, employment, and employability. Defendants filed the action not with

an intent to protect any interest intended to be protected by any privilege but with

recklessness and an intent to injure the Plaintiff. Therefore, no privilege existed to

protect Defendants from liability for any of these statements and unsupported



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allegations. Defendants continued the action for sixteen months which was terminated

in Plaintiff’s favor and dismissed for lack of prosecution on October 16, 2020. (Exhibit

27)

57. Defendants made several misrepresentations in their defamation complaint. For

example, Defendants alleged that Plaintiff was paid $1500 for her work at Petland. Not

only was this false and easily disproven by the payroll records in custody of the

Defendants demonstrating otherwise, but also irrelevant to an action for defamation.

58. Defendants also made disparaging and false statements against the Plaintiff, such as

accusing the Plaintiff of extortion, aided by her counsel, for acting to recover unpaid

wages. Once, again, completely irrelevant to an action for defamation. In fact, not only

did defendants have no reasonable basis to believe the statements that they also had no

belief in the truth of the statement in fact knew the statements to be false.

59. Additionally, Defendants were informed and had knowledge that Plaintiff was

evicted from her home and lost all her belongings as a result just three weeks after

Defendants terminated her employment and unlawfully retained the money that was

to be used to pay her housing expenses. Given the circumstances, it defies belief that

Defendants, or their counsel, had any legitimate belief in obtaining a judgement against

the Plaintiff, a homeless woman with no income or assets as the result of Defendants’

unlawful actions, much less for an act she did not do.



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60. More likely is it than not, that the lawsuit was a meant to retaliate against the

Plaintiff for acting to recover her wages and to bully, intimidate, and otherwise

discourage the Plaintiff from continued pursuit of her claims and wages and was

intended to cause, and did cause, the Plaintiff mental distress.

61. Setting aside the lack of probable cause for the action, it is nonetheless worth noting

that in their Complaint, Defendants stated that Plaintiff “was a veterinary technician

for the store.” Defendants made this statement in direct conflict with Defendants’

previous claim that Plaintiff was a kennel technician at Petland, not a veterinary

technician.

62. By the inconsistency of Defendants statements, it appears that Defendants made one

representation when attempting to justify under paying the Plaintiff’s wages, and

another representation when they sought to injure Plaintiff’s personal and professional

reputation by alleging acts of extortion and defamation against her former employer.

63. All actions of the Defendants, its agents, and employees, herein alleged were

known, ratified, and approved by the Defendants. By the foregoing facts, Plaintiff

alleges that Defendants committed wage theft, and engaged in retaliatory conduct and

other unlawful acts to conceal Defendants’ wage theft and unlawful termination of

Plaintiff’s employment, and to avoid prosecution and paying Plaintiff the wages she is

owed.



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                                        Count One
                              Failure to Pay Minimum Wage
                                    FLSA § 29 U.S.C. 206

64. As a separate and distinct cause of action, Plaintiff complains and realleges

paragraphs 18 through 29 and incorporates them by reference into this cause of action

as though fully set forth herein, excepting those allegations which are inconsistent with

this cause of action.

65. The Plaintiff was an “employee” and Defendants were “employers” under the

FLSA at all times material.

66. Plaintiff’s employment began on August 13, 2018. Plaintiff was scheduled a

minimum of 37 hours per week and often remained later than her scheduled time off

work to complete tasks as instructed by her supervisor. Plaintiff alleges she worked

approximately one hundred hours in total during her employment. Plaintiff’s work

hours and dates worked are documented, or should be documented, by her time clock

records, which are in the sole custody and control of the Defendants.

67. Plaintiff’s weekly work schedules, created and posted by the Defendants

themselves, show Plaintiff’s schedule for weeks two and three. see Exhibits 5, 6. Thus,

Defendants were fully aware of the number of hours Plaintiff worked each week.

68. Defendants reduced Plaintiff’s pay to $8.45 an hour and applied the reduction

retroactively. While a pay rate of $8.45 may be at or above the minimum wage rate in



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effect during the relevant time, given the approximately one hundred total hours

worked by the Plaintiff over the three weeks of her employment, Defendants did not

pay Plaintiff for all hours worked, thus reducing her compensation to $2.05 for each

hour of Plaintiff’s work. Plaintiff’s pay stub confirms that Plaintiff was paid $205 in

total wages before taxes and deductions.

69. Plaintiff and Defendants disagree as to an alleged direct deposit on September 15,

2018, for $320. Plaintiff has no knowledge or record of the alleged deposit and

Defendants have offered no verifiable record of the transaction from the banking

institution. The pay period for alleged the direct deposit was August 31, 2018 -

September 14, 2018. Given the fact that Plaintiff was terminated on August 31, 2018, she

could not have worked or earned wages during that pay period. Plaintiff disputes the

authenticity of the direct deposit paystub from the Defendants and argues that the pay

stub was fraudulent and created after the fact as an attempt to appear as if Plaintiff had

been paid all wages owed.

70. Nonetheless, setting aside the absence of any verifiable record of the deposit and the

authenticity of the pay stub, pay stub submitted by the Defendants for the alleged

direct deposit indicates a year-to-date wage of $577.47. Going by the pay stub and

according to the Defendants accounting, had the direct deposit in fact, been made,

Plaintiff was paid $5.77 per hour, given the approximately one hundred hours worked.



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71. Whether by the Plaintiff’s accounting or that of the Defendants, the pay stub for the

alleged direct deposit is evidence that supports the claim that Plaintiff was not paid

minimum wage. In fact, giving the Defendants the benefit of the doubt as to the

legitimacy of their payroll records, those records indicate that Defendants allegedly

paid $577 in year-to-date wages, which is substantially less than the Florida or federal

minimum wages in effect during the relevant time.

72. Given that Defendants were informed and have had knowledge that Plaintiff was

owed money but failed to correct the deficiency in almost four years that Defendants

have owed Plaintiff wages, Defendants have left no room for doubt that their unlawful

conduct was, and continues to be, a knowing and willful and violation of the FLSA and

was made with reckless disregard for the Plaintiff’s rights.

73. To show a willful violation, the evidence must show not only that the FLSA was

violated, but also that the employer either knew or showed reckless disregard for

whether its conduct violated the FLSA. This finding requires more than just evidence

that the employer was negligent or inattentive to its pay practices. Instead, the evidence

must show that the employer knew its pay practices violated the FLSA or had some

reason to suspect its pay practices violated the FLSA and failed to take any action to

investigate or address that belief.




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74. Plaintiff’s supervisor promised an investigation into the Plaintiff’s wage dispute

when she terminated the Plaintiff as the result of Plaintiff’s complaint when she

discovered a substantial shortage of wages in her paycheck. However, no investigation

was made. Moreover, the Defendants acted with reckless disregard for whether their

actions complied with the requirements of the FLSA. Not only did Defendants fail to

investigate when Plaintiff complained about her wages, but Defendants terminated the

Plaintiff rather than investigate the wage issue. Likewise, Defendants did not

investigate the wage issue when they were notified of their failure to pay minimum

wage by Plaintiff’s attorney in December 2018.

75. By their failure to investigate and/or correct the wage shortage, Defendants have

demonstrated willful and reckless disregard for the provisions of FLSA. Moreover,

Defendants stated that Plaintiff would have to sue and prevail in court for Defendants

to surrender Plaintiff’s wages. Thus, the Defendants’ have proven their willful

disregard for the FLSA many times over.


76. Plaintiff seeks an order from the Court requiring the Defendants to pay Plaintiff all

back wages owed to the Plaintiff and an equal amount in mandatory liquidated

damages under the FLSA, and damages to compensate for losses to the Plaintiff caused

by the Defendants failure to timely pay Plaintiff in full and as agreed




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77. Plaintiff has incurred substantial time and expense to compel Defendants to pay the

wages she was due to receive nearly four years ago. In lieu of attorney fees and costs,

Plaintiff seeks a reasonable compensation for time and expense incurred by this

litigation and for any fees and court costs incurred by this action.

                                           Count Two
                                 Failure to Pay Minimum Wage
                        Fla. St. 448.110 and Section 24 Article X of the
                                      Florida Constitution

78. As a separate and distinct cause of action, Plaintiff complains and realleges

paragraphs 18-29 and 68-71 and incorporates them by reference into this cause of action

as though fully set forth herein, excepting those allegations which are inconsistent with

this cause of action.

79. Defendants failed to pay Plaintiff minimum wage for all hours worked in violation

of public policy 448.110(a) which states:

      ” All working Floridians are entitled to be paid a minimum wage that is
      sufficient to provide a decent and healthy life for them and their families, that
      protects their employers from unfair low-wage competition, and that does not
      force them to rely on taxpayer-funded public services in order to avoid economic
      hardship.”


80. Defendants, by their failure to pay Plaintiff a minimum wage, forced the Plaintiff to

rely on welfare to avoid economic hardship, and to rely on food stamps each month to

be able to sustain her existence. Plaintiff has relied, and will continue to rely, on food

stamps since the time of Defendants unlawful employment actions in 2018.
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81. By their failure to pay Plaintiff a minimum wage, Defendants violated 448.110 (c)

which states:

      “Employers shall pay Employees Wages no less than the Minimum Wage for all
      hours worked in Florida.”

82. Defendants paid Plaintiff $ 205 in wages after she performed approximately one

hundred hours of work for the Defendants. Defendants refuse to produce Plaintiff’s

time clock records to determine the precise number of hours Plaintiff worked because

they will demonstrate she was paid less than minimum wage for all hours worked.

83. However, Plaintiff submits her weekly work schedules for weeks two and three of

her employment which show that Plaintiff worked full time hours each week.

84. Defendants paid Plaintiff $205 and, given the one hundred hours Plaintiff estimates

she worked in total for three weeks, Plaintiff was paid $2.05 for each hour of work.

($205/100 = $2.05)

85. Defendants allege to have made a direct deposit to Plaintiff’s bank in the amount of

$320 on September 15, 2018. However, Plaintiff disputes the claim and has no

knowledge or record of any deposit to her account by Petland. However, the pay stub

for the alleged deposit states a year-to-date wage of $577.47. Therefore, whether by

Defendants accounting or that of the Defendants, Plaintiff did not receive a minimum

wage for all hours worked, given approximately one hundred hours she worked

during her employment at Petland.


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86. Pursuant Section 24(e) of the Florida Minimum Wage Act:

      “Persons aggrieved by a violation of this amendment may bring a civil action in
      a court of competent jurisdiction against an Employer or person violating this
      amendment and, upon prevailing, shall recover the full amount of any back
      wages unlawfully withheld plus the same amount as liquidated damages, and
      shall be awarded reasonable attorney's fees and costs.”

      “In addition, they shall be entitled to such legal or equitable relief as may be
      appropriate to remedy the violation including, without limitation, reinstatement
      in employment and/or injunctive relief. Any Employer or other person found
      liable for willfully violating this amendment shall also be subject to a fine
      payable to the state in the amount of $1000.00 for each violation.”

87. The Florida Minimum Wage Act requires that an employee give an employer notice

and 15 days to pay the full amount of unpaid wages or otherwise resole the claim to the

satisfaction of the employee before the violation becomes actionable. The statute of

limitations for bringing an action pursuant to this section shall be tolled during this 15-

day period. In addition to notice by the Plaintiff when she complained to her

supervisor, Defendants were given further notice in accordance with the statute on

December 6, 2018, in a letter of demand from Plaintiff’s counsel. Defendants had until

December 21, 2018, to correct the violation but failed to do so.


88. Defendants’ failure to pay minimum wage was willful and knowing and in reckless

disregard for the Plaintiff’s rights and Florida minimum wage laws and made with

wrongful intent to injure the Plaintiff.




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89. As a direct and proximate result of Defendants’ unlawful conduct, Plaintiff has

sustained and continues to sustain emotional distress, mental anguish, and Plaintiff has

suffered and will continue to suffer a loss of earnings and other employment benefits.

90. Pursuant to Fla. Stat. 448.102(c), Plaintiff is thereby entitled to the following relief:

 1. Upon prevailing in an action brought pursuant to this section, aggrieved persons
 shall recover the full amount of any unpaid back wages unlawfully withheld plus the
 same amount as liquidated damages and shall be awarded reasonable attorney’s fees
 and costs…

 2. Upon prevailing in an action brought pursuant to this section, aggrieved persons
 shall also be entitled to such legal or equitable relief as may be appropriate to remedy
 the violation, including, without limitation, reinstatement in employment and
 injunctive relief.



91. Defendants have continued to refuse to pay the Plaintiff the wages she is owed for

nearly five years. Plaintiff seeks relief in accordance with the remedies set forth in Fla.

St. 448.110 to include back wages, liquidated damages, front pay in lieu of

reinstatement, damages for mental distress, for property and intangible losses incurred

by the Plaintiff as the direct and indirect result of Defendants’ willful failure and

refusal to pay Plaintiff’s wages continuing for nearly five years as of the filing date of

this Complaint.

92. Plaintiff should also be compensated a reasonable amount in lieu of attorney’s fees

for the time and expenses incurred by Plaintiff to recover unpaid wages, to include

filing fees and any other related expenses incurred by this action to compel Defendants’

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compliance with Florida minimum wage laws. Plaintiff should be compensated from

the time this action was filed until such time as the final disposition of this action is

entered.

93. In addition, the Plaintiff seeks any other relief allowable under law and to the fullest

extent of the law, including but not limited to, assessment of fines and/or penalties

against Defendants for their unlawful conduct.

                                        Count Three
                                        Civil Theft
                                   Florida Stat. § 812.014

94. Florida Stat. § 812.014 provides a cause of action for the crime of civil theft and

states in relevant part:

      (1) a person commits theft if he or she knowingly obtains or uses, or endeavors to
      obtain or to use, the property of another with intent to, either temporarily or
      permanently:
             (A) Deprive the other person of a right to the property or a benefit from
             the property.
             (B) Appropriate the property to his or her own use or to the use of any
             person not entitled to the use of the property.
             (C) It is grand theft of the third degree and a felony of the third degree,
             punishable as provided in s. 775.082, s. 775.083, or s. 775.084, if the
             property stolen is valued at $300 or more, but less than $5,000.
95. To state a claim for civil theft, a plaintiff must prove the statutory elements of theft,

as well as criminal intent.




                                                                                            28
 Defendants Knowingly Retained Plaintiff’s Property by Failing to Pay Plaintiff the
                                  Wages She is Owed

96. On August 31, 2018, Defendants knowingly and unlawfully retained Plaintiff’s

property in the amount of $1,835 f or services performed by the Plaintiff in August 2018

at Defendants’ Petland Largo retail store. Defendants’ retention of Plaintiff’s property

was made with the intention of permanently depriving Plaintiff of her property.

97. Defendants refused, and continue to refuse, to surrender that property since August

31, 2018.

            Defendants Appropriated Plaintiff’s Property for Their Own Use

98. Defendants deprived Plaintiff of the benefit of her property and appropriated, and

continue to appropriate, Plaintiff’s money for their own use since August 31, 2018.

99. Defendants represented that the Plaintiff’s pay was an annual salary of $35,000 a as

compensation for her services as a veterinary technician at Defendants Petland store.

100. Plaintiff performed work in accordance with the terms and conditions set forth by

the Defendants in the agreement. However, when it was time for Defendants to pay

Plaintiff after she performed work for the Defendants for three weeks, Defendants only

paid the Plaintiff $205, which was $1835 less than the amount Plaintiff was supposed to

receive from the Defendants.

101. Plaintiff notified Defendants through her supervisor, Allison, that she was owed

money. However, rather than pay the Plaintiff the money she was owed, at the time


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Plaintiff was due to receive her money, Defendants instead terminated the employment

relationship.

102. Defendants were notified that Plaintiff was owed money for a second time on

December 6, 2018, in a letter of demand from Plaintiff’s attorney. However, despite two

notifications and Defendants’ knowledge Plaintiff was owed money, and even though

Defendants’ own records supported the claim, Defendants retained and continued to

retain Plaintiff’s property despite being informed and fully aware that the property

belonged to the Plaintiff, not the Defendants, Defendants refused to surrender

Plaintiff’s property and continue to refuse to surrender Plaintiff’s property. Not only

did Defendants knowingly and intentionally deprive Plaintiff of the benefit of her

property, but Defendants also appropriated, and have continued to appropriate,

Plaintiff’s property for the Defendants own use and benefit for more than three years.

103. Defendants retention and refusal to surrender Plaintiff’s property is compelling

evidence that the Defendants deprivation of Plaintiff’s money was a knowing

intentional act of theft made with criminal intent to unlawfully retain property

belonging to the Plaintiff.

104. To conceal and avoid liability for theft, Defendants misrepresented facts and

alleged the existence of false evidence against the Plaintiff and acted to intimidate and

threaten the Plaintiff and otherwise acted to obstruct justice by interfering with



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Plaintiff’s ability to continue legal action against Defendants. Much like the

Defendants’ conduct described in the previous count for theft, these actions were

retaliatory and made with the intent to injure the Plaintiff and discourage continued

pursuit of her wages and legal claims.

105. By the retaliatory, threatening, and intimidation tactics described herein,

Defendants have left little room for doubt that Defendants acted, and continue to act,

with extreme, unjustified, and unlawful conduct to continue Defendants’ retention of

Plaintiff’s property, Defendants’ refusal to surrender Plaintiff’s property, and to

conceal Defendants’ theft to avoid surrendering Plaintiff’s property and avoid liability

for their unlawful retention of Plaintiff’s property.

106. Plaintiff Fl. Sta. 812.014, Defendants unlawfully retained Plaintiff’s property in the

amount of $1835 and refused to surrender Plaintiff’s property with the intention of

permanently depriving the Plaintiff of her property.

      Pursuant Florida Stat. § 812.014(1)(c) Defendants Committed Grand Theft

107. Defendants’ misconduct constitutes grand theft because the property stolen is

valued at more than $1000 pursuant Fla. St. 812.014(2).

                        Defendants Acted with Criminal Intent

108. Evidence of criminal intent that motivated Defendants’ theft is established is

established in several ways as described below:



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109. First, Defendants posted an offer in Indeed.com for a wage Defendants had no

intention of paying to induce Plaintiff to apply and accept employment at Petland.

110. However, immediately upon hiring the Plaintiff and without cause or notice

Defendants reduced Plaintiff’s wage to $8.45 an hour.

111. Defendants obtained full time work from the Plaintiff, approximately one hundred

hours over three weeks in accordance with the terms and compensation set forth by the

Defendants.

112. However, when it was time to pay the Plaintiff, Defendants did not pay Plaintiff as

promised or even minimum wage. Defendants did not investigate the pay shortage and

instead terminated Plaintiff thirty minutes after she brought the wage discrepancy to

the attention of her supervisor. This conduct by the Defendants was unlawful and

exceeded the inherent risks of employment and was not the sort of conduct normally

expected from an employer.

113. After terminating the Plaintiff, Defendants acted to conceal their wage theft by

alleging a direct deposit that was not in fact, made, misrepresented every material fact

of Plaintiff’s employment contrary to Defendants own time clock and payroll records,

and engaged in retaliatory conduct and intimidation tactics as described herein to

interfere with and discourage further action by the Plaintiff to recover her property so

that Defendants could escape liability and commit theft with impunity.



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114. Defendants accused Plaintiff of extortion in a malicious retaliatory defamation

action against the Plaintiff to intimidate and discourage Plaintiff from further action to

recover her property and to cause her mental distress.

115. Defendants’ refusal to surrender Plaintiff’s property for almost four years, despite

knowledge that the property belongs to the Plaintiff, not the Defendants, is compelling

evidence to establish the criminal intent with which Defendants acted and continue to

act.

116. Furthermore, criminal intent can be reasonably inferred by evidence of Defendants

history of wage theft and similar conduct toward other Petland Florida employees.

117. History demonstrates a pattern and practice of improper and unlawful conduct by

the Defendants made to deprive employees of their money. This pattern of similar

conduct by the Defendants is evidence that this is not an isolated incident, but rather

another instance as part of a pattern and practice of improper and unlawful practices

pertaining to the payment of wages occurring in the Defendants’ usual course of

business.

118. Substantial evidence of Defendants improper conduct relating to the payment of

wages can be seen by statements made by other current and/or former employees of

the Defendants. For example, employees state that Defendants shorted their paychecks,

paid less than minimum wage, did not pay on time, unlawfully forced employees to



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split their commissions with the Defendants, failed to provide a way for employees to

document their hours, required employees to sign a document agreeing to allow

Defendants to retain their commission wages at any time at the Defendants’ discretion

or if they quit or are terminated, did not pay employees for overtime hours, made

employees clock out and work only for commissions when they reached forty hours,

promised raises to obtain more work from employees but did not give those raises

accordingly, and use payment of commissions/wages as leverage to threaten employees

with termination or as a means of constructive discharge. (Exhibits 29-43)

119. Defendants’ history and this pattern of misconduct related to the payment of

wages is compelling evidence of the criminal intent with which Defendant’s act in

matters of wages and supports the conclusion that the case is the same here, as well.

120. Plaintiff has suffered, and continues to suffer, substantial injury for more than

three years as the direct and proximate result of Defendants’ theft.

121. Fla. Stat. § 772.11 provides the civil remedy for theft and states in relevant part:

      (1) Any person who proves by clear and convincing evidence that he or she has
      been injured in any fashion by reason of any violation of ss. 812.012-812.037 or
      s. 825.103(1) has a cause of action for threefold the actual damages sustained and,
      in any such action, is entitled to minimum damages in the amount of $200, and
      reasonable attorney’s fees and court costs in the trial and appellate courts.




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122. Accordingly, seeks treble damages and, in lieu of attorney’s fees, a reasonable

amount to compensate Plaintiff for the time and expenses incurred by having to file

this action for civil theft to seek redress for Defendants unlawful acts.

                                        Count Four
                                       Conversion
123. Under Florida law, to state a cause of action for conversion, a plaintiff must prove

1) that the plaintiff owns or has the right to possess the personal property in question at

the time of the interference; 2) that the defendant intentionally interfered with

plaintiff's personal property; 3) that the interference deprived the plaintiff of possession

or use of the personal property in question; and; 4) that the interference caused

damages to the plaintiff.

           Plaintiff Has a Legal Right to the Unlawfully Retained Property

124. Plaintiff has already established that she performed work for the Defendants for

which she has not been compensated and attaches evidentiary documentation showing

Plaintiff was paid less than minimum wage for approximately one hundred hours of

work performed for the Defendants. The Plaintiff has a lawful right to the money

unlawfully retained by the Defendants because it is unpaid wages owed to the Plaintiff

for work already performed for the Defendants.




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        Defendants’ Acted with the Intent to Deprive Plaintiff of Her Property

125. Defendants exercised, and continue to exercise, dominion and control over

Plaintiff’s property and intentionally interfered with Plaintiff’s right to her property by

unlawfully retaining Plaintiff’s money knowing that it belonged to the Plaintiff and not

the Defendants. Defendants knowingly and intentionally unlawfully retained and

refused to surrender Plaintiff’s property and deprived, and continue to deprive, the

Plaintiff of the benefit of her property for more than three years as of this filing, all

while they appropriated Plaintiff’s property for Defendants’ use and benefit.


                  Plaintiff was Damaged by Defendants’ Interference

126. Defendants were, and continue to be, the direct and proximate cause of harm to

the Plaintiff. Defendants’ actions were willful, malicious, and oppressive, and

committed with the wrongful intent to injure the Plaintiff and in conscious disregard

for the Plaintiff’s rights. Thus, Plaintiff seeks an award of damages in an amount to be

determined at trial.

127. Punitive damages are also appropriate in this case in an amount to be determined

at trial due the particularly egregious conduct by the Defendants that has continued for

more than three years and to deter similar conduct going forward.




                                                                                            36
                                          Count Five
                                 Fraudulent Misrepresentation



128. To state a claim for fraudulent misrepresentation, a plaintiff must show 1) a

defendant intentionally made a false statement concerning a material fact; 2) knowing

the statement was false when it was made or made the statement knowing he did not

know whether it was true or false; 3) with the intention that another would rely on the

false statement; 4) the plaintiff justifiably relied on the false statement to their

detriment.

                Defendants Made an Intentional False Statement of Fact

129. On or about August 2018, Defendants created and posted an offer of employment

on indeed.com for a “Full-time Certified Veterinary Technician” at Defendants’ Largo

Petland store. Defendants stated the compensation was an annual salary of $35,000.

130. The compensation was material to the employment offer because it induced action

by the Plaintiff in reliance of the representation by the Defendants.

              Defendants Made the Representation Knowing it was False

131. The statement about the compensation, which was optional and not required to

create and post a job offer on Indeed.com, was knowingly and intentionally

misrepresented. Defendants knew the statement was false at the time it was made




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because Defendants had no intention of paying accordingly and did not pay

accordingly.

        Defendants Intended to Induce Reliance on their Misrepresentations

132. Defendants made the misrepresentation on Indeed.com, an online employment

platform for which its purpose is to connect job seekers with employers seeking to fill

open positions. Defendants made the misrepresentations with intent to induce reliance

and did induce reliance on those misrepresentations by the Plaintiff, causing the

Plaintiff to apply for and accept employment at Petland in reliance of the Defendants’

material representations.

                            Plaintiff’s Reliance was Justified

133. Defendants made these misrepresentations on an online employment platform

whose function is to connect job seekers with employers. Thus, Plaintiff was justified in

her reliance on the statements made by Defendants when they created and posted the

employment offer on the employment platform because the conduct by the Defendants

exceeded the inherent risks of employment and was not the sort of conduct normally

expected from an employer.

            Plaintiff was Injured Her Reliance on Defendants’ Statements

134. Plaintiff’s reliance on the Defendants’ misrepresentations was the direct and

proximate cause of Plaintiff’s injuries.



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135. Plaintiff seeks treble damages in an amount to be determined at trial pursuant

Florida Statute 772.11(1)

136. Punitive damages are also appropriate in this case to deter like conduct by

Defendants and other going forward.

                                         Count Six
                            Tortious Interference with Contract

137. To state a claim for tortious interference with contract, the claimant must plead

four elements: 1) the existence of a business relationship under which plaintiff has legal

rights, not necessarily evidenced by an enforceable contract; 2) proof of defendant's

knowledge; 3) intentional and unjustified interference with relationship by defendant;

and 4) damage to plaintiff as a result of interference.

               Plaintiff Had a Business Relationship with Her Attorney

138. Plaintiff formed a business and contractual relationship with attorney Richard

Celler when he undertook Plaintiff’s employment case, on contingency, on October 10,

2018.

 Defendants Were Informed and Had Knowledge of the Relationship with Counsel

139. On October 4, 2018, Defendants had knowledge and were informed that Mr. Celler

represented the Plaintiff. Defendants responded to Mr. Celler’s correspondence,

through counsel on December 11, 2018.

         Defendants’ Interference was Intentional and Without Justification


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140. Plaintiff alleges that Defendants intentionally interfered with the relationship

between Plaintiff and her counsel. Defendants acted with malice and in bad faith and

accused Mr. Celler of providing the Defendants with a “kennel wage agreement” for

$35,000 an hour. Defendants accused Plaintiff of altering the agreement by crossing out

the word “hour” and writing the word “year” in its place. Counsel made this

allegation, falsely accusing the Plaintiff of tampering with this agreement he claimed to

have in his personal possession even though the Plaintiff and her counsel, the

Defendants and their counsel, all knew of its falsity and that no such wage agreement

existed.

141. By their allegations of a wage agreement that did not exist and the implication that

Mr. Celler provided the other side with evidence was a false and intentional

interference with Plaintiff’s relationship with her counsel. Defendants intentionally

interfered with the contractual relationship between Plaintiff and her counsel. There

can be no legitimate purpose for making accusations of providing evidence to the other

side against his own client’s interests.

142. The 180-degree shift in the enthusiasm and diligence with which Mr. Celler acted

at the outset of his representation was undeniable. Mr. Celler did not file the case on

December 20, 2018, in accordance with his demand letter. He did not demonstrate the




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same interest in the case, he failed to maintain communication with the Plaintiff, he did

not advance the Plaintiff’s case toward resolution for nine months.

143. Plaintiff alleges that Mr. Celler’s change in demeanor was the direct result of

unjust and intentional interference by the Defendants when they responded to his letter

in the manner they did.

144. Mr. Celler did not deny the accusations, nor did he offer Plaintiff any explanation

for the implications. In fact, Mr., Celler refused to acknowledge the allegations

altogether and refused to answer any of at least three email inquiries by the Plaintiff

about the alleged agreement.

145. Plaintiff alleges that Defendants intentionally interfered in Plaintiff’s relationship

without justification and caused, coerced, and influenced Mr. Celler not to deny the

allegations by Defendants and not to acknowledge them.

146. Further evidence of unjustified interference is seen when, after nine months, Mr.

Celler stated his intention of filing Plaintiff’s case, twice. However, rather than file, Mr.

Celler abruptly withdrew from the case with less than 24-hours’ notice to the Plaintiff.

147. Plaintiff requested a copy of her case file when Mr. Celler terminated his

representation, which consisted of six email messages between himself and opposing

counsel in the two weeks before his withdrawal, with nothing between then and

Defendants reply to the demand letter nine months earlier.



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148. The lack of any other papers or notes in the interim demonstrated that Mr. Celler

discontinued action to advance the case towards resolution when he received

Defendants’ response to his demand letter. This is persuasive evidence that Mr. Celler

was influenced by the Defendants’ allegations to an extent that it interfered with the

diligent pursuit of Plaintiff’s case. From that time, Mr. Celler took no further action to

advance the case toward resolution for nine months, until he restated his intent to file

Plaintiff’s case in May and June of 2019, but instead abruptly, mysteriously, withdrew

from the case a week later without filing the case accordingly.

149. Plaintiff alleges that the absence of a case file is compelling evidence suggesting

that Mr. Celler’s intention of filing on December 20, 2018, on May 3, 2018 , and May 6,

2018, in accordance with his claim, and his failure to file accordingly on all three of

those dates is persuasive evidence to support a claim the Mr. Celler’s actions were

influenced by the Defendants false allegations, false accusations, and otherwise

inappropriate response to the claims alleged in his demand letter.

150. Plaintiff further alleges that, were it not for Defendants’ interference and influence

over Mr. Celler’s actions, Plaintiff’s case file would have contained a drafted Complaint

to be filed on December 20, 2018, as Mr. Celler intended. Plaintiff alleges that the

Defendants’ vexatious response to Mr. Celler’s letter, and the false allegations and

accusations therein, were the turning point in Mr. Celler’s business conduct and



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marked the undermining of Plaintiff’s case by Mr. Celler’s failure to act to advance the

case toward resolution.

151. Given Mr. Celler’s disciplinary history and sanction by the Florida Bar for

improper communication with counsel of an opposing party in an unrelated case, it can

be reasonably inferred that accusations of similar misconduct by Defendants and/or

their counsel, would be sufficient to interfere with Mr. Celler’s zealous representation

of the Plaintiff.

152. Mr. Celler’s withdrawal was contrary to his contractual and economic interest

because he undertook the case on contingency, invested nine months of time and

expense on the case, only to compromise his own compensation by not seeing the case

through to a favorable outcome.

153. Under Florida law, so long as improper means are not employed, activities taken

to safeguard or promote one's own financial, and contractual interests are entirely non-

actionable. In this case, Mr. Celler’s “activities” neither safeguarded, nor promoted, his

financial or contractual interests.

154. Moreover, Mr. Celler’s handling of Plaintiff’s case was directly counter to his own

representations. For example, Mr. Celler stated,

    •   “Our firm prides itself on staying in constant communication with our clients.”
    • “We pride ourselves on being responsive to our clients and proactive on their
        cases.”



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   • “If they want to settle, great. If they don’t, we remain ready and committed to go
       to trial and court.”
   • “We believe in being straightforward and up front with our clients from day one
       so that we are on the same page in terms of expectations and how the case will
       proceed.”
   • “We don’t get paid unless our client gets paid. So, we share the same incentive
       in pushing these cases as quickly and efficiently as we can.”
   • “Keeping clients informed and up to date on their cases is a benchmark for our
       practice.”

155. Not only did Mr. Celler not keep Plaintiff “informed” or respond in a “timely

fashion,” but he told the Plaintiff the firm does not “provide clients with updates”.

156. Mr. Celler also represents that he is “straightforward with clients from day one so

they are on the same page as far as expectations and how the case will proceed” Thus,

according to Mr. Celler, he and the Plaintiff shared the same “expectations” of the case

from the outset. Moreover, Mr. Celler’s management of the Plaintiff’s case was so

contrary to his own representations that is strongly suggests that Mr. Celler was

persuaded or coerced to pursue the Plaintiff’s case with the same degree of

professionalism applied to other cases.

157. Plaintiff alleges that Defendants exercised influence or otherwise interfered with

Plaintiff’s contractual relationship with Mr. Celler and were the direct and proximate

cause of Mr. Celler’s failure to file, failure to advance the case, and his ultimate

withdrawal. Defendants were the only parties that stood to gain an advantage from Mr.




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Celler’s failures to act by not filing the case, by not advancing the case toward

resolution for nine months, and by not seeing the case through to resolution.

158. Applying logic and common sense, it can be reasonably inferred that Mr. Celler’s

conduct, which was so contrary to his own interests and his own representations, was

caused affected by interference and/or influenced or coerced, by the Defendants to gain

an advantage in the case by avoiding liability in a legal action filed against the

Defendants, both to the detriment of Mr. Celler’s interests, as well as those of the

Plaintiff.

159. Additional evidence to support a cause of action for interference will be obtained

and further developed through discovery.

                Plaintiff Has Been Injured by Defendants’ Interference

160. Plaintiff alleges that the Defendants unlawfully interfered with the contractual

relationship between Plaintiff and the interference was intentional, unjust, and the

direct and proximate cause of damage to the Plaintiff in an amount to be determined at

trial.

161. In addition, Defendants interference was motivated by conduct made to conceal

and avoid liability for their unlawful acts and with the intention of injuring the

Plaintiff. Defendants acted with an improper and evil motive amounting to malice and

oppression and in conscious disregard for the Plaintiff’s rights. Thus, punitive damages



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are appropriate in this case and should be awarded as punishment for Defendants’

unlawful acts and to deter like conduct by the Defendants and others going forward.

                                         Count Seven
                                     Malicious Prosecution

162. To state a cause of action for malicious prosecution, Plaintiff must prove six

elements: 1) the commencement of a judicial proceeding; 2) its legal causation by the

present defendant against the plaintiff; 3) its bona fide termination in favor of the

plaintiff; 4) the absence of probable cause for the prosecution; 5) malice; [and] 6)

damages.”

  Defendants were the Legal Cause and Commenced a Judicial Proceeding Against
                                              Plaintiff

163. Defendants were the legal cause and commenced a judicial proceeding and filed a

defamation action against the Plaintiff with malice and without probable cause. The

action was filed on June 18, 2019, in Miami-Dade County Court. Pooches of Largo v.

Moore, 018268-CA-01. https://www2.miami-dadeclerk.com/ocs/Search.aspx

164. Plaintiff has already established that she did not engage in any defamatory act

toward Pooches of Largo, Inc. and that the defamation action was frivolous, malicious,

and filed for improper purpose without basis in law or fact.

                      The Action Terminated in Favor of the Plaintiff




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165. The Defendants continued the action for one and a half years until it was

terminated in favor of the Plaintiff on October 16, 2020, when it was dismissed for lack

of prosecution.

166. Defendants used the defamation action as an opportunity to disparage the Plaintiff

and misrepresent material facts pertaining to Plaintiff’s employment, Plaintiff’s former

attorney, and the Plaintiff.

167. Defendants falsely accused the Plaintiff posting an allegedly defamatory picture as

the cover photo of a Facebook page not administrated by the Plaintiff.

168. Defendants falsely accused Plaintiff of acting in revenge against the Defendants

and further, wrongly accused the Plaintiff of extortion for lawfully acting to recover

unpaid wages.

169. Defendants’ complaint alleged, falsely, that Plaintiff was paid $1500 in wages to

conceal Defendants’ wage theft and conceal their failure to pay minimum wage, and to

avoid having to pay the Plaintiff the wages owed to her.

                               Defendants Acted with Malice

170. Plaintiff alleges that Defendants acted with malice and abused the legal system

when they filed the action and used it as both a sword and a shield to retaliate,

intimidate, and otherwise injure the Plaintiff, and conceal unlawful conduct, and to

deter further pursuit of her claims to avoid liability for their misconduct.



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171. As the court records indicate, no attempt was ever made to serve the Plaintiff, nor

did Defendants utilize any of several other ways by which to commence an action

rather than to complete service on the defendant. Plaintiff attaches the case docket as

(Exhibit 17) as evidence showing that no attempt was made

to serve the Plaintiff and that the case terminated in Plaintiff’s favor.

172. Defendants’ failure to take any action to obtain the correct identity of the page’s

administrator, or to file any defamation action against the correct administrator or the

two websites that use the same allegedly defamatory picture in reference to Petland

further supports the frivolous, retaliatory, and malicious motive for the action against

the Plaintiff.

173. Moreover, the action was filed despite Defendants and their counsel being

informed and having knowledge that the Plaintiff had lost her home as the direct

consequence of Defendants’ wage theft. Thus, it defies belief that the Defendants or

their counsel had any realistic expectation of obtaining a judgement for $15,000 for an

unsupported cause of action against a homeless woman with no income or assets.

                       The Action Was Without Probable Cause

174. The action was an abuse of the legal system and filed for improper purpose with

the intention of intimidating and harassing the Plaintiff to deter her from continued

pursuit of her claims against Defendants for their unlawful conduct. Furthermore, the



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action caused Plaintiff to be unable to secure new employment for a considerable

amount of time after it was filed, despite reasonable efforts by the Plaintiff to do so.

175. Defendants’ also caused harm and injury to Plaintiff’s occupational, professional,

and personal reputation, and did so recklessly and maliciously with the wrongful

intention of injuring the Plaintiff, for an improper and evil motive amounting to malice

as described above, which abused and/or prevented the existence of any conditional

privilege of the Defendants or their counsel in filing and continuing the action against

the Plaintiff.

176. Not only did Defendants have no reasonable basis for filing the action or for the

statements made therein, but Defendants also filed the action with no belief in the truth

of the claims in the defamation action and in fact knew the statements to be false.

177. Defendants filed the action with hatred and ill will towards the Plaintiff and the

design and intention to injure the Plaintiff, her reputation, and her employability, not

with any intent to protect any interest intended to be protected by any privilege, but

with reckless malicious intent to injure the Plaintiff. Therefore, no privilege existed to

protect the Defendants, nor their counsel, from liability for the baseless malicious

defamation action filed against the Plaintiff.

178. Defendants were the direct and proximate cause of injury to the Plaintiff, including

but not limited to, occupational and reputational harm, and mental distress.



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179. Plaintiff seeks an award of damages to compensate for her injuries.

180. Punitive damages in an amount to be determined at trial are also appropriate in

this case because of the Defendants’ malice and intent to injure the Plaintiff.

                                 Prayer for Relief

Wherefore, Plaintiff has been damaged by the Defendants and prays for judgement

against the Defendants and relief as follows:

1. All unpaid wages owed to the Plaintiff calculated and adjusted accordingly, at

$35,000 and deducting wages already paid to the Plaintiff in the amount of $205.08

2. Back pay, front pay, and lost wages in an amount to be determined at trial

3. Prejudgment and post judgment interest calculated at the current rate

4. In lieu of attorney’s fees and costs, compensation in a reasonable amount for time

and expense incurred by the Plaintiff in filing and continuing this action to compel

Defendants' compliance with the law, to include filing fees, court costs, and any

additional costs incurred by the Plaintiff related to this action

5. Liquidated damages pursuant 29 U.S.C. 216(b) and Section 24(e) of the Florida

Minimum Wage Act

6. An award of treble damages, pursuant Fla. Stat. § 772.11

7. Compensatory damages to include awards for mental anguish, emotional distress,

psychological, and physical harm to the Plaintiff as a direct and indirect consequence



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of Defendants’ unlawful acts to include the loss of Plaintiff’s home of four years, loss

of personal property, and causing the Plaintiff to become homeless. The Plaintiff’s

livelihood was, and continues to be, substantially injured by the Defendants.

8. Damages for injury to Plaintiff’s professional and personal reputation,

employability in an amount to be determined at trial

9. Reimbursement for actual costs incurred for storage expenses for Plaintiff’s

belongings incurred as a direct consequence of Defendants' unlawful retention of

Plaintiff’s wages and eviction three weeks later

10. Punitive damages for all claims allowable at law, in an amount to be determined at

trial

11. Any other damages allowable at law and to the fullest extent of the law

             Plaintiff demands a trial by jury on all counts so triable.

                                       Respectfully submitted,

                                       s/ Melanie Moore

                                       Plaintiff,
                                       15519 Darien Way
                                       Clearwater, Florida 33764
                                       (Mailing address only)
                                       vettechmnm@gmail.com
                                       (727) 692-0143



                                  Certificate of Service




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Plaintiff, Melanie Moore, hereby certifies that on November 24, 2022, a copy of the

foregoing will be served on counsel for the Defendants using the court’s CM/ECF filing

system and counsel will be notified of the foregoing by email through the CM/ECF

system.

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Coral Gables, Florida 33134
msarelson@sarelson.com




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